
In re Louisiana State University, et al.; Louisiana State University Board of Supervisors; Board of Supervisors LSU &amp; A &amp; M College; Louisiana, State of; — Defendants); applying for supervisory and/or remedial writs, Parish of Orleans, Civil District Court, Div. N, Nos. 98-17454; to the Court of Appeal, Fourth Circuit, No. 99-C-1202.
Granted. Judgment of the trial court denying LSU’s exception is reversed for reasons assigned by Judge Plotkin in his dissenting opinion. The exception is maintained and the case is remanded to the trial court to transfer the case to the court of proper venue.
LEMMON, J., not on panel.
CALOGERO, C.J., KIMBALL and JOHNSON, JJ., would deny the writ.
